           Case 2:17-cv-02527-HRH Document 20 Filed 12/29/17 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ARIZONA


THERESA BROOKE, a married woman                  )
dealing with her sole and separate claim,        )
                                                 )
                                      Plaintiff, )
                                                 )
       vs.                                       )
                                                 )
HOTEL INVESTMENT GROUP, INC.,                    )
a California corporation, d/b/a Hotel Iris,      )           No. 2:17-cv-2527-HRH
                                                 )
                                   Defendant. )
_______________________________________)


                                         ORDER
                                      Case Dismissed

       Pursuant to the parties’ Joint Stipulation for Dismissal with Prejudice,1 filed

December 28, 2017, this case is dismissed with prejudice, the parties to bear their

respective costs and attorney fees. The court shall retain jurisdiction over this matter to

enforce the terms of the settlement agreement.

       DATED this 29th day of December, 2017.


                                                  /s/ H. Russel Holland
                                                  United States District Judge




       1
        Docket No. 19.
Order – Case Dismissed                                                                   -1-
